  Case 2:20-cv-02213-PSG-JPR Document 27 Filed 11/06/20 Page 1 of 1 Page ID #:118

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                                        JS-6
                                      CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-02213-PSG-JPRx                                           Date      November 6, 2020
 Title          Carmen John Perri v. Svam Consulting, Inc. et al



 Present: The                 Philip S. Gutierrez, United States District Court Judge
 Honorable
                 Wendy Hernandez                                               Not Reported
                    Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
                     Not Present                                               Not Present
 Proceedings (In Chambers):          ORDER DISMISSING ACTION

      The Court, having been advised by Mediator that this action has been fully settled by
a Mediation Report [26], hereby orders all proceedings, if any, vacated and the action
dismissed without prejudice.

      Further, the Court retains jurisdiction for sixty (60) days to vacate this order and to
reopen the action upon showing of good cause that the settlement has not been completed.




                                                               Initials of Preparer   wh




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
